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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )            Case No: 4:08cr3009
               Plaintiff,                    )
                                             )
 vs.                                         )            ORDER
                                             )
JOHN MICHAEL STEVE BROWN,                    )
                                             )
            Defendant.                       )


  The court has been presented a Financial Affidavit (CJA Form 23) signed by the above-
named defendant in support of a request for appointed counsel. After a review of the Financial
Affidavit, I find that the above-named defendant is eligible for appointment of counsel pursuant
to the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal Justice Act Plan for
the District of Nebraska.

 IT IS ORDERED:

  The Federal Public Defender for the District of Nebraska is appointed to represent the above
named defendant in this matter. In the event that the Federal Public Defender accepts this
appointment, the Federal Public Defender shall forthwith file a written appearance in this
matter. In the event the Federal Public Defender should decline this appointment for reason
of conflict or on the basis of the Criminal Justice Act Plan, the Federal Public Defender shall
forthwith provide the court with a draft appointment order (CJA Form 20) bearing the name and
other identifying information of the CJA Panel attorney identified in accordance with the
Criminal Justice Act Plan for this district.


 IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the Federal
Public Defender for the District of Nebraska.

        DATED October 19, 2011


                                     BY THE COURT

                                     s/Cheryl R. Zwart
                                     Cheryl R. Zwart
                                     United States Magistrate Judge
